                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION


                                                ) Case No. 1:18-cv-03307-JMS-TAB
                                                )
COVVES, LLC,                                    )
                                                )
                   Plaintiff,                   )
                                                )
       v.                                       )
                                                )
BIGMOUTH INC., an Indiana                       )
Corporation; and BIGMOUTH LLC., an              )
Indiana Limited Liability Company               )
                                                )
                                                )
                                                )



              JOINT MOTION FOR ENTRY OF AGREED PROTECTIVE ORDER


       Comes now Plaintiff Covves, LLC and Defendants BigMouth Inc. and BigMouth LLC,

by counsel, jointly move the Court to enter the attached Agreed Protective Order.

Respectfully submitted,

/s/ Stephen McArthur                             /s/ Morgan Nickerson
Stephen C. McArthur (pro hac vice)               Morgan Nickerson (pro hac vice)
THE MCARTHUR LAW FIRM, PC                        K&L GATES LLP
11400 W. Olympic Blvd., Ste. 200                 1 Lincoln St.
Los Angeles, CA 90064                            Boston, MA 02111
stephen@smcarthurlaw.com                         morgan.nickerson@klgates.com
Tel. (323) 639-4455                              Tel. (617) 261-3100

Attorneys for Plaintiff                          Attorneys for Defendants
Covves, LLC                                      BigMouth Inc. and BigMouth LLC


Dated: September 24, 2019


                                                   1
                                 CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was filed and served electronically via ECF

filing with the U.S. District Court for the Southern District of Indiana, Indianapolis Division, this

24th day of September 2019, to the following:

       Morgan Nickerson (pro hac vice)
       K&L GATES LLP
       1 Lincoln St.
       Boston, MA 02111
       morgan.nickerson@klgates.com
       (617) 261-3100


                                              /s/ Stephen McArthur
                                              Stephen C. McArthur (pro hac vice)
                                              THE MCARTHUR LAW FIRM, PC
                                              11400 W. Olympic Blvd., Ste. 200
                                              Los Angeles, CA 90064
                                              stephen@smcarthurlaw.com
                                              Tel. (323) 639-4455




                                                     2
